    Case 9:19-cv-01161-DNH-TWD Document 80 Filed 11/30/21 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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EDWARD RANDOLPH,

                      Plaintiff,

              -v-                       9:19-CV-1161

LISA KALIES et al.,

                      Defendants.

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APPEARANCES:                            OF COUNSEL:

EDWARD RANDOLPH
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DAVID N. HURD
United States District Judge


             ORDER ON REPORT & RECOMMENDATION

  On September 19, 2019, pro se plaintiff Edward Randolph (“plaintiff”), an

inmate in the custody of the New York State Department of Corrections and
     Case 9:19-cv-01161-DNH-TWD Document 80 Filed 11/30/21 Page 2 of 2




Community Supervision (“DOCCS”), filed this 42 U.S.C. § 1983 action

alleging that defendants violated his Eighth Amendment rights when they

were deliberately indifferent to his serious medical needs while he was

incarcerated at Auburn Correctional Facility. Dkt. No. 1. After discovery,

defendants moved for summary judgment on plaintiff’s claims. Dkt. No. 62.

   On November 10, 2021, U.S. Magistrate Judge Thérèse Wiley Dancks

advised by Report & Recommendation (“R&R”) that defendants’ motion for

summary judgment be granted and plaintiff’s complaint be dismissed. Dkt.

No. 79. Plaintiff has not filed objections, and the time period in which to do

so has expired. See id. Upon review for clear error, the R&R will be accepted

and adopted in all respects. See FED. R. CIV. P. 72(b).

   Therefore, it is

   ORDERED that

   1. The Report & Recommendation is ACCEPTED; and

   2. Defendants’ motion for summary judgment is GRANTED.

   IT IS SO ORDERED.


Dated: November 30, 2021
       Utica, New York.




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